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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10   MICHAEL ANTHONY,

11                 Petitioner,                   No. CIV S-02-0081 FCD PAN P

12           vs.

13   GAIL LEWIS, Warden, et al.,

14                 Respondents.                  ORDER

15                                      /

16                 Pursuant to Appendix A(f)(1) of the Local Rules and good cause appearing, IT IS

17   HEREBY ORDERED that:

18                 1. This action is reassigned to Magistrate Judge John F. Moulds for all

19   proceedings in accordance with Local Rule 72-302;

20                 2. The district judge assignment shall remain the same; and

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             Case 2:02-cv-00081-FCD-JFM Document 24 Filed 07/01/05 Page 2 of 2




 1                   3. Henceforth, the caption on documents filed in this action shall be shown as No.

 2   CIV S-02-0081 FCD JFM P.

 3   DATED:           06/30                     , 2005.

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 5
                                                             /s/
 6                                                        PETER A. NOWINSKI
                                                          UNITED STATES MAGISTRATE JUDGE
 7
     DATED: June 22, 2005.
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     DATED:           06/30/2005          , 2005.
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                                                                 /s/
14                                                        DAVID F. LEVI
                                                          CHIEF JUDGE
15                                                        UNITED STATES DISTRICT COURT
     /anth0081.rea
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